                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
________________________________________________________________________

UNITED STATES OF AMERICA,

       Plaintiff,

       v.                                               Case No. 25-CR-0089-LA

HANNAH C. DUGAN,

      Defendant.
______________________________________________________________________________

                       DECLARATION OF JOHN H. BRADLEY
______________________________________________________________________________

       I, John H. Bradley, declare and state that:

       1.      I am an attorney with Strang Bradley, LLC and one of the attorneys of

record representing the Defendant in the above-captioned case and I make this declaration

based on personal knowledge.

       2.      On June 13, 2025, I called and spoke with one of the jury administrators at

the Clerk of Court’s office and asked if there was currently any policy in their office

regarding the length of supplemental jury questionnaires. I specifically asked whether

there was currently any page limit for supplemental jury questionnaires as previously

referenced in United States v. Hamzeh, 16-CR-21 (E.D. Wis. Aug. 22, 2019) (Pepper, J.), Dkt.

No. 242.

       3.      Shortly after I had the above conversation with one of the jury

administrators at the Clerk of Court’s office, I received a call back from the jury

administrator, who informed me that the Clerk of Court’s office does not currently have




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any policy related to page limits for supplemental jury questionnaires and that the

parameters of any supplemental jury questionnaire are determined by the assigned judge.



      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.

Executed on: June 13, 2025                /s/ John H. Bradley
                                          John H. Bradley




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